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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                          Case No.
     Plaintiffs,
                                                                    0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                                  NOTICE OF SEALED FILING
         Plaintiffs in the above captioned action hereby provide notice pursuant to Local Rule
  5.4(b)(1) and the Court’s Order dated December 18, 2018 (D.E. 384) of the filing under seal of
  Plaintiffs’ Proof of Service on non-parties Christopher Steele, Fusion GPS, KGlobal and
  CNN/TBS of notices of the potential unsealing of documents from each non-party that have been
  filed under seal in this case. The Proof of Service is filed herewith.
         Good cause exists for the sealing of these papers because the Court’s Order states that
  materials regarding these non-parties should be filed under seal. D.E. 384, p. 2.




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  Dated: January 14, 2019

  Respectfully Submitted:

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                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  email on all counsel or parties of record on the service list below on January 14, 2019.


                                                       /s/ Matthew Shayefar
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